                Case 3:05-bk-37024                      Doc 1          Filed 07/15/05 Entered 07/15/05 17:23:51                                     Desc Main
(Official Form 1) (12/03)                                              Document     Page 1 of 37
FORM B1                               United States Bankruptcy Court
                                                 Southern District of Ohio
                                                                                                                                             Voluntary Petition
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Name of Debtor (if individual, enter Last, First, Middle):                                   Name of Joint Debtor (Spouse) (Last, First, Middle):
 Payne, Thomas E.


All Other Names used by the Debtor in the last 6 years                                       All Other Names used by the Joint Debtor in the last 6 years
(include married, maiden, and trade names):                                                  (include married, maiden, and trade names):




Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No.                       Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No.
(if more than one, state all):                                                               (if more than one, state all):
                      xxx-xx-7554
Street Address of Debtor (No. & Street, City, State & Zip Code):                             Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
  104 Martha Ave.
  Dayton, OH 45458


County of Residence or of the                                                                County of Residence or of the
Principal Place of Business:              Montgomery                                         Principal Place of Business:
Mailing Address of Debtor (if different from street address):                                Mailing Address of Joint Debtor (if different from street address):




Location of Principal Assets of Business Debtor
(if different from street address above):


                                                 Information Regarding the Debtor (Check the Applicable Boxes)
Venue (Check any applicable box)
    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
    preceding the date of this petition or for a longer part of such 180 days than in any other District.
       There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                Type of Debtor (Check all boxes that apply)                                             Chapter or Section of Bankruptcy Code Under Which
       Individual(s)                         Railroad                                                             the Petition is Filed (Check one box)
       Corporation                           Stockbroker                                              Chapter 7                   Chapter 11          Chapter 13
       Partnership                           Commodity Broker                                         Chapter 9                   Chapter 12
       Other                                 Clearing Bank                                            Sec. 304 - Case ancillary to foreign proceeding
                   Nature of Debts (Check one box)                                                                        Filing Fee (Check one box)
       Consumer/Non-Business               Business                                                   Full Filing Fee attached
                                                                                                      Filing Fee to be paid in installments (Applicable to individuals only.)
         Chapter 11 Small Business (Check all boxes that apply)                                       Must attach signed application for the court's consideration
       Debtor is a small business as defined in 11 U.S.C. § 101                                       certifying that the debtor is unable to pay fee except in installments.
       Debtor is and elects to be considered a small business under                                   Rule 1006(b). See Official Form No. 3.
       11 U.S.C. § 1121(e) (Optional)
Statistical/Administrative Information (Estimates only)                                                                                      THIS SPACE IS FOR COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there
      will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors                    1-15          16-49       50-99   100-199          200-999    1000-over



Estimated Assets
     $0 to            $50,001 to   $100,001 to   $500,001 to       $1,000,001 to   $10,000,001 to        $50,000,001 to       More than
     $50,000          $100,000     $500,000      $1 million        $10 million     $50 million           $100 million         $100 million



Estimated Debts
     $0 to            $50,001 to   $100,001 to   $500,001 to       $1,000,001 to   $10,000,001 to        $50,000,001 to       More than
     $50,000          $100,000     $500,000      $1 million        $10 million     $50 million           $100 million         $100 million
            Case
(Official Form      3:05-bk-37024
               1) (12/03)                      Doc 1       Filed 07/15/05 Entered 07/15/05 17:23:51                            Desc Main
Voluntary Petition                                         Document NamePage  2 of 37
                                                                           of Debtor(s):                                           FORM B1, Page 2
(This page must be completed and filed in every case)                          Payne, Thomas E.

                              Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
Location                                                                Case Number:                          Date Filed:
Where Filed: - None -
         Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                    Case Number:                          Date Filed:
- None -
District:                                                                    Relationship:                         Judge:


                                                                       Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Exhibit A
I declare under penalty of perjury that the information provided in this     (To be completed if debtor is required to file periodic reports (e.g., forms
petition is true and correct.                                                10K and 10Q) with the Securities and Exchange Commission pursuant to
[If petitioner is an individual whose debts are primarily consumer debts     Section 13 or 15(d) of the Securities Exchange Act of 1934 and is
and has chosen to file under chapter 7] I am aware that I may proceed        requesting relief under chapter 11)
under chapter 7, 11, 12, or 13 of title 11, United States Code, understand         Exhibit A is attached and made a part of this petition.
the relief available under each such chapter, and choose to proceed under
chapter 7.                                                                                                       Exhibit B
I request relief in accordance with the chapter of title 11, United States                     (To be completed if debtor is an individual
Code, specified in this petition.                                                              whose debts are primarily consumer debts)
                                                                             I, the attorney for the petitioner named in the foregoing petition, declare
                                                                             that I have informed the petitioner that [he or she] may proceed under
 X       /s/ Thomas E. Payne
                                                                             chapter 7, 11, 12, or 13 of title 11, United States Code, and have
     Signature of Debtor Thomas E. Payne                                     explained the relief available under each such chapter.

 X                                                                            X    /s/ REBECCA BARTHELEMY-SMITH                  July 15, 2005
     Signature of Joint Debtor                                                    Signature of Attorney for Debtor(s)          Date
                                                                                   REBECCA BARTHELEMY-SMITH 0003474
                                                                                                               Exhibit C
     Telephone Number (If not represented by attorney)                       Does the debtor own or have possession of any property that poses
         July 15, 2005                                                       a threat of imminent and identifiable harm to public health or
                                                                             safety?
     Date
                                                                                    Yes, and Exhibit C is attached and made a part of this petition.
                         Signature of Attorney                                      No
 X          /s/ REBECCA BARTHELEMY-SMITH
                                                                                              Signature of Non-Attorney Petition Preparer
     Signature of Attorney for Debtor(s)
                                                                             I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.
      REBECCA BARTHELEMY-SMITH 0003474                                       § 110, that I prepared this document for compensation, and that I have
     Printed Name of Attorney for Debtor(s)                                  provided the debtor with a copy of this document.
      ARKENBERG & BARTHELEMY-SMITH
     Firm Name                                                                    Printed Name of Bankruptcy Petition Preparer
      4133 N. Dixie Drive
      Dayton, OH 45414
                                                                                  Social Security Number (Required by 11 U.S.C.§ 110(c).)
     Address
                              Email: rbsmith.ameritech.net
      (937) 278-4214 Fax: (937) 278-7344
     Telephone Number                                                             Address
      July 15, 2005
     Date                                                                         Names and Social Security numbers of all other individuals who
                                                                                  prepared or assisted in preparing this document:
               Signature of Debtor (Corporation/Partnership)
I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this
petition on behalf of the debtor.
The debtor requests relief in accordance with the chapter of title 11,            If more than one person prepared this document, attach additional
United States Code, specified in this petition.                                   sheets conforming to the appropriate official form for each person.

 X                                                                            X
     Signature of Authorized Individual                                           Signature of Bankruptcy Petition Preparer


     Printed Name of Authorized Individual                                        Date

                                                                                  A bankruptcy petition preparer's failure to comply with the
     Title of Authorized Individual                                               provisions of title 11 and the Federal Rules of Bankruptcy
                                                                                  Procedure may result in fines or imprisonment or both. 11
                                                                                  U.S.C. § 110; 18 U.S.C. § 156.
     Date
                Case 3:05-bk-37024                            Doc 1           Filed 07/15/05 Entered 07/15/05 17:23:51                   Desc Main
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                                                                   United States Bankruptcy Court
                                                                              Southern District of Ohio
  In re          Thomas E. Payne                                                                                      Case No.
                                                                                                            ,
                                                                                             Debtor
                                                                                                                      Chapter                  7




                                                                        SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets.
     Add the amounts from Schedules D, E, and F to determine the total amount of the debtor's liabilities.


                                                                                                                   AMOUNTS SCHEDULED

        NAME OF SCHEDULE                                   ATTACHED NO. OF                       ASSETS                LIABILITIES            OTHER
                                                            (YES/NO) SHEETS

A - Real Property                                                  Yes                1                     0.00


B - Personal Property                                              Yes                3                   500.00


C - Property Claimed as Exempt                                     Yes                1


D - Creditors Holding Secured                                      Yes                1                                               0.00
      Claims
E - Creditors Holding Unsecured                                    Yes                1                                               0.00
      Priority Claims
F - Creditors Holding Unsecured                                    Yes                9                                         359,972.00
      Nonpriority Claims
G - Executory Contracts and                                        Yes                1
      Unexpired Leases

H - Codebtors                                                      Yes                1


I - Current Income of Individual                                   Yes                1                                                                 1,940.00
      Debtor(s)
J - Current Expenditures of                                        Yes                2                                                                 2,724.00
      Individual Debtor(s)

   Total Number of Sheets of ALL Schedules                                            21


                                                                              Total Assets                500.00


                                                                                               Total Liabilities                359,972.00




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  In re          Thomas E. Payne                                                                                       Case No.
                                                                                                              ,
                                                                                                Debtor

                                                                  SCHEDULE A. REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired
Leases.
      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. (See Schedule D.) If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.


                                                                                                              Husband, Current Market Value of
                                                                                                                         Debtor's Interest in
                 Description and Location of Property                                 Nature of Debtor's       Wife,      Property, without             Amount of
                                                                                      Interest in Property     Joint, or                               Secured Claim
                                                                                                             Community Deducting  any Secured
                                                                                                                         Claim or Exemption


                         None




                                                                                                              Sub-Total >               0.00          (Total of this page)

                                                                                                                   Total >              0.00
  0      continuation sheets attached to the Schedule of Real Property                                        (Report also on Summary of Schedules)
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  In re          Thomas E. Payne                                                                                              Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

      Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

      If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
                                                              N                                                                      Husband,    Current Market Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

1.      Cash on hand                                          X

2.      Checking, savings or other financial                  X
        accounts, certificates of deposit, or
        shares in banks, savings and loan,
        thrift, building and loan, and
        homestead associations, or credit
        unions, brokerage houses, or
        cooperatives.

3.      Security deposits with public                         X
        utilities, telephone companies,
        landlords, and others.

4.      Household goods and furnishings,                      X
        including audio, video, and
        computer equipment.

5.      Books, pictures and other art                         X
        objects, antiques, stamp, coin,
        record, tape, compact disc, and
        other collections or collectibles.

6.      Wearing apparel.                                          Ordinary apparel                                                       -                           500.00
                                                                  Location: 104 Martha Ave., Dayton OH

7.      Furs and jewelry.                                     X

8.      Firearms and sports, photographic,                    X
        and other hobby equipment.

9.      Interests in insurance policies.                      X
        Name insurance company of each
        policy and itemize surrender or
        refund value of each.



                                                                                                                                         Sub-Total >              500.00
                                                                                                                             (Total of this page)

  2      continuation sheets attached to the Schedule of Personal Property

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  In re          Thomas E. Payne                                                                                              Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                      (Continuation Sheet)
                                                              N                                                                      Husband,    Current Market Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

10. Annuities. Itemize and name each                          X
    issuer.

11. Interests in IRA, ERISA, Keogh, or                        X
    other pension or profit sharing
    plans. Itemize.

12. Stock and interests in incorporated                       X
    and unincorporated businesses.
    Itemize.

13. Interests in partnerships or joint                        X
    ventures. Itemize.

14. Government and corporate bonds                            X
    and other negotiable and
    nonnegotiable instruments.

15. Accounts receivable.                                      X

16. Alimony, maintenance, support, and                        X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

17. Other liquidated debts owing debtor                       X
    including tax refunds. Give
    particulars.

18. Equitable or future interests, life                       X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule of Real Property.

19. Contingent and noncontingent                              X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                                         Sub-Total >                  0.00
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Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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  In re          Thomas E. Payne                                                                                              Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                      (Continuation Sheet)
                                                              N                                                                      Husband,    Current Market Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

20. Other contingent and unliquidated                         X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

21. Patents, copyrights, and other                            X
    intellectual property. Give
    particulars.

22. Licenses, franchises, and other                           X
    general intangibles. Give
    particulars.

23. Automobiles, trucks, trailers, and                        X
    other vehicles and accessories.

24. Boats, motors, and accessories.                           X

25. Aircraft and accessories.                                 X

26. Office equipment, furnishings, and                        X
    supplies.

27. Machinery, fixtures, equipment, and                       X
    supplies used in business.

28. Inventory.                                                X

29. Animals.                                                  X

30. Crops - growing or harvested. Give                        X
    particulars.

31. Farming equipment and                                     X
    implements.

32. Farm supplies, chemicals, and feed.                       X

33. Other personal property of any kind                       X
    not already listed.




                                                                                                                                         Sub-Total >                  0.00
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Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                                     (Report also on Summary of Schedules)
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   In re          Thomas E. Payne                                                                                       Case No.
                                                                                                               ,
                                                                                               Debtor

                                                SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
 Debtor elects the exemptions to which debtor is entitled under:
 [Check one box]
    11 U.S.C. §522(b)(1): Exemptions provided in 11 U.S.C. §522(d). Note: These exemptions are available only in certain states.
    11 U.S.C. §522(b)(2): Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has
                             been located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day
                             period than in any other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest
                             is exempt from process under applicable nonbankruptcy law.

                                                                                       Specify Law Providing                Value of        Current Market Value of
                    Description of Property                                               Each Exemption                    Claimed            Property Without
                                                                                                                           Exemption         Deducting Exemption
Wearing Apparel
Ordinary apparel                                                                  Ohio Rev. Code Ann. § 2329.66(A)(3)              500.00                    500.00
Location: 104 Martha Ave., Dayton OH




    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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  In re          Thomas E. Payne                                                                                                 Case No.
                                                                                                                    ,
                                                                                                     Debtor

                                      SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
      State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured by property
 of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
 and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
 garnishments, statutory liens, mortgages, deeds of trust, and other security interests. List creditors in alphabetical order to the extent practicable. If all
 secured creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
 the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community."
      If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
 columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME,                                   O                                                            O    N   I
                                                                D   H          DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
          AND MAILING ADDRESS                                   E                                                            T    I   P       WITHOUT      UNSECURED
           INCLUDING ZIP CODE,                                  B   W             NATURE OF LIEN, AND                        I    Q   U                    PORTION IF
                                                                T   J        DESCRIPTION AND MARKET VALUE                    N    U   T
                                                                                                                                             DEDUCTING
          AND ACCOUNT NUMBER                                    O                                                            G    I   E       VALUE OF        ANY
            (See instructions above.)
                                                                    C                 OF PROPERTY
                                                                R
                                                                                    SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No.                                                                                                                       E
                                                                                                                                  D




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
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_____ continuation sheets attached
                                                                                                                 (Total of this page)
                                                                                                                             Total                0.00
                                                                                                   (Report on Summary of Schedules)

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(04/04)


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  In re          Thomas E. Payne                                                                                         Case No.
                                                                                                                   ,
                                                                                                 Debtor

                      SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
     unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
     including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
     debtor, as of the date of the filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
     and the creditor and may be provided if the debtor chooses to do so.

          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
     on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them or
     the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".

         If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
     "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
     columns.)

          Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this Schedule E
     in the box labeled "Total" on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

           Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

           Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

           Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
     independent sales representatives up to $4,925* per person earned within 90 days immediately preceding the filing of the original petition, or the
     cessation of business, which ever occurred first, to the extent provided in 11 U.S.C. § 507 (a)(3).

           Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

           Certain farmers and fishermen
           Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(5).

           Deposits by individuals
        Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
     that were not delivered or provided. 11 U.S.C. § 507(a)(6).

           Alimony, Maintenance, or Support
           Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C. § 507(a)(7).

           Taxes and Certain Other Debts Owed to Governmental Units
           Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C § 507(a)(8).

           Commitments to Maintain the Capital of an Insured Depository Institution
         Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
     of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).

    *Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
     adjustment.

                                                                                      0   continuation sheets attached
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                 Case 3:05-bk-37024                            Doc 1           Filed 07/15/05 Entered 07/15/05 17:23:51                            Desc Main
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   In re          Thomas E. Payne                                                                                           Case No.
                                                                                                                        ,
                                                                                                      Debtor


                  SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
 priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor
 has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. Do not include claims listed in
 Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
 the marital community maybe liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
      If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
 columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                           O                                                           O   N   I
                 AND MAILING ADDRESS                                           D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                          E               DATE CLAIM WAS INCURRED AND                 T   I   P
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Account No. 0966680                                                                    Enviromental assesment                              T   T
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BOWSER MORNER ASSOC.
15316 N. Florida Ave                                                               -
Tampa, FL 33613

                                                                                                                                                                     10,349.00
Account No. 35-970560683-10                                                            Medical/Health Care

CBCS
PO BOX 165025                                                                      -
Columbus, OH 43216-5025

                                                                                                                                                                       4,064.00
Account No.                                                                            Ins. Premiums for Progressive Ins. Co.

CENTERVILLE INS. AGENCY
55 Franklin St.                                                                    -
Dayton, OH 45459

                                                                                                                                                                         300.00
Account No. IND 6OO-188                                                                Title search

CHICAGO TITLE INS. ABENCY
1 S. Main St.                                                                      -
Dayton, OH 45402

                                                                                                                                                                         715.00

                                                                                                                                         Subtotal
 8
_____ continuation sheets attached                                                                                                                                   15,428.00
                                                                                                                               (Total of this page)




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   In re            Thomas E. Payne                                                                                         Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
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                       (See instructions.)                                     R                                                           E   D   D
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Account No.                                                                            loan                                                    E
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CITY OF DAYTON WELLFIELD FUND
BOARD                                                                              -
8 N. Main St.
Dayton, OH 45402
                                                                                                                                                                  88,000.00
Account No. 6899438                                                                    Medical/Health Care

CRA SECURITY SYSTEMS
PO BOX 67665                                                                       -
Harrisburg, PA 17108-7555

                                                                                                                                                                      380.00
Account No. 1727824901 3                                                               Utilities

DAYTON POWER & LIGHT
PO BOX 740598                                                                      -
Cincinnati, OH 45274

                                                                                                                                                                    2,793.00
Account No. 668272                                                                     Medical/Health Care

EBI
PO BOX 8500-41335                                                                  -
Philadelphia, PA 19178-1335

                                                                                                                                                                         9.00
Account No. 67790, 557249, 671808                                                      Medical/Health Care

EMERGENCY MED. SPEC. INC.
PO BOX 145406                                                                      -
Cincinnati, OH 45250

                                                                                                                                                                        81.00

           1
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                  91,263.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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                    Case 3:05-bk-37024                         Doc 1           Filed 07/15/05 Entered 07/15/05 17:23:51                            Desc Main
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   In re            Thomas E. Payne                                                                                         Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

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Account No.                                                                            Electrical work                                         E
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EVANS ELECTRIC
1910 N. Main Street                                                                -
Dayton, OH 45402

                                                                                                                                                                    2,000.00
Account No. 439783-3                                                                   Medical/Health Care

FINANCE SYSTEM OF TOLEDO INC.
PO BOX 351297                                                                      -
Toledo, OH 43735-1297

                                                                                                                                                                        36.00
Account No. 3628065                                                                    Mail Order

FOSTER STEPHEN
c/oBIEHL & BIEHL, INC.                                                             -
PO OBOX 66415
Amf Ohare, IL 60666-0415
                                                                                                                                                                      208.00
Account No. 01142                                                                      Lawn Serv.

GOURMET R&B LAWN SERV.
4248 Touraine Cr.                                                                  -
Dayton, OH 45440

                                                                                                                                                                      500.00
Account No.                                                                            Legal fees

GUNNOE & ASSOC. ESQ.
2525 Miamisburg Rd.                                                                -
Dayton, OH 45459

                                                                                                                                                                  30,000.00

           2
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                  32,744.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Thomas E. Payne                                                                                         Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

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Account No.                                                                            Environmental assessment                                E
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HAUSER ERNEST Phd
1000 Colonel Glenn Hwy.                                                            -
Dayton, OH 45433

                                                                                                                                                                    5,000.00
Account No.                                                                            Excavation work

JERGENS R.B. CONSTRUCTION
11418 N. Dixie Drive                                                               -
Vandalia, OH 45377

                                                                                                                                                                    1,000.00
Account No.                                                                            Environmental assesment

JUDGE ENGINEERING
1201 E. David Rd.                                                                  -
Dayton, OH 45429

                                                                                                                                                                  40,000.00
Account No. 026728394KAAS                                                              Medical/Health Care

KETTERING ANESTHESIA ASSOC.
PO BOX 351297                                                                      -
Toledo, OH 43735-1297

                                                                                                                                                                        90.00
Account No. 210127                                                                     Medical/Health Care

KETTERING MED. CENTER
PO BOX 713085                                                                      -
Columbus, OH 43271-3085

                                                                                                                                                                      693.00

           3
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                  46,783.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Thomas E. Payne                                                                                         Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

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Account No. 210127                                                                     Medical/Health Care                                     E
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KETTERING MED. CTR PULMONARY
NETWORK                                                                            -
6728 Loop Rd.
Dayton, OH 45459
                                                                                                                                                                        59.00
Account No. 70287                                                                      Medical/Health Care

KETTERING RADIOLOGISTS INC.
PO BOX 713085                                                                      -
Columbus, OH 43271-3085

                                                                                                                                                                        68.00
Account No.                                                                            Roofing work

LAPP ROOFING & SHEETING METAL
2860 Ome Ave.                                                                      -
Dayton, OH 45414

                                                                                                                                                                  70,000.00
Account No. 986                                                                        Medical/Health Care

MAXIMUS
PO BOX 9264                                                                        -
Hinsdale, IL 60522-9264

                                                                                                                                                                      188.00
Account No. 69107423                                                                   Medical/Health Care

MIAMI VALLEY CARDIOLOGISTS INC.
231230 Momentum Plc.                                                               -
Chicago, IL 60689-0001

                                                                                                                                                                         2.00

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Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                  70,317.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Thomas E. Payne                                                                                         Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

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Account No. 8250804                                                                    Medical/Health Care                                     E
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MIAMI VALLEY EMERG SPEC.
2950 Roberson Ave. $ 200                                                           -
Cincinnati, OH 45209

                                                                                                                                                                        33.00
Account No. 69107423                                                                   Medical/Health Care

MIAMI VALLEY HOSPITAL
PO BOX 713072                                                                      -
Columbus, OH 43271-3072

                                                                                                                                                                    1,772.00
Account No. 15899-496364                                                               Utilities

MONTGOMERY COUNTY SANITARY
ENG.                                                                               -
PO BOX 817601
Dayton, OH 45481-7601
                                                                                                                                                                      238.00
Account No. 86JK6W                                                                     Medical/Health Care

NCO FINANCIAL
PO BOX 41417 Dept. 99                                                              -
Philadelphia, PA 19101-1457

                                                                                                                                                                      639.00
Account No.                                                                            Painting

OHIO PAINT CO.
1248 Ventura Ave.                                                                  -
Dayton, OH 45404

                                                                                                                                                                  11,000.00

           5
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                  13,682.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Thomas E. Payne                                                                                         Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

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Account No.                                                                            Land Survey                                             E
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OHIO UTILITIES PROTECTION SERV
4740 Belmont Ave.                                                                  -
Youngstown,, OH

                                                                                                                                                                        60.00
Account No. 209688                                                                     Medical/Health Care

PHYSIO THERAPEUTICS INC.
c/o UNITED TRADES ASSN. INC.                                                       -
2310 Farr Hills Ave.
Dayton, OH 45419
                                                                                                                                                                    1,932.00
Account No. 010100497590                                                               Medical/Health Care

PRIMED
PO BOX 7111858                                                                     -
Columbus, OH 43271-1858

                                                                                                                                                                        15.00
Account No. 69107423                                                                   Medical/Health Care

RADIOLOGY PHYSICIANS INC.
3533 Southern Blvc. # 3550                                                         -
Dayton, OH 45429

                                                                                                                                                                         4.00
Account No.                                                                            Land Survey

REINKE GROUP
959 Congress Park Dr.                                                              -
Dayton, OH 45459

                                                                                                                                                                    2,500.00

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Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                  Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Thomas E. Payne                                                                                         Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

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Account No. 937-439-3601 868                                                           Telephone Serv.                                         E
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SBC
Attn. Bankruptcy Dept.                                                             -
Arlington, TX 76004

                                                                                                                                                                      518.00
Account No. 111476                                                                     Medical/Health Care

SCHUSTER CARDIOLOGY
3533 Kettering Blvd.                                                               -
Dayton, OH 45429

                                                                                                                                                                        16.00
Account No.                                                                            Legal fees

SCOTT STONE ESQ.
7501 Paaragon Rd.                                                                  -
Dayton, OH 45459

                                                                                                                                                                  25,000.00
Account No.                                                                            Plumbing serv.

SHOW PLACE INC.
649 Watervelit Ave.                                                                -
Dayton, OH 45428

                                                                                                                                                                    4,000.00
Account No. 82095                                                                      Medical/Health Care

SOUTH DAYTON ACUTE CARE
CONSUL                                                                             -
PO BOX 713174
Columbus, OH 43271
                                                                                                                                                                        53.00

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Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                  Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Thomas E. Payne                                                                                               Case No.
                                                                                                                         ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

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Account No.                                                                            Environmental assessment                                       E
                                                                                                                                                      D

TCA ENVIRONMENTAL
728 Pioneer Blvd.                                                                  -
Springboro, OH 45066

                                                                                                                                                                         50,000.00
Account No.                                                                            Land survey and planning

TDM CONSTRUCTION CO. INC.
21 E. RIDGEWAY rD.                                                                 -
Dayton, OH 45459

                                                                                                                                                                           4,000.00
Account No. 034015118162176105                                                         Utilities

VECTREN DELIVERY SERV.
PO BOX 6262                                                                        -
Indianapolis, IN 46206

                                                                                                                                                                           1,657.00
Account No.




Account No.




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Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                         Subtotal
                                                                                                                                                                         55,657.00
Creditors Holding Unsecured Nonpriority Claims                                                                                        (Total of this page)
                                                                                                                                                  Total
                                                                                                                        (Report on Summary of Schedules)               359,972.00


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  In re             Thomas E. Payne                                                                                Case No.
                                                                                                         ,
                                                                                         Debtor

                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
               State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
               Provide the names and complete mailing addresses of all other parties to each lease or contract described.

               NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in the appropriate
                     schedule of creditors.

                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                          Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                               State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                     State contract number of any government contract.




       0         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

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  In re             Thomas E. Payne                                                                          Case No.
                                                                                                    ,
                                                                                         Debtor

                                                                        SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by
     debtor in the schedules of creditors. Include all guarantors and co-signers. In community property states, a married debtor not filing a joint case should
     report the name and address of the nondebtor spouse on this schedule. Include all names used by the nondebtor spouse during the six years
     immediately preceding the commencement of this case.

               Check this box if debtor has no codebtors.

                    NAME AND ADDRESS OF CODEBTOR                                            NAME AND ADDRESS OF CREDITOR




       0         continuation sheets attached to Schedule of Codebtors

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 In re     Thomas E. Payne                                                                     Case No.
                                                                  Debtor(s)


                        SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.
Debtor's Marital Status:                                          DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP                                            AGE
                                              None.
       Married


 EMPLOYMENT                                            DEBTOR                                             SPOUSE
 Occupation                        Automotive
 Name of Employer                  Self Employed
 How long employed                 30yrs.
 Address of Employer               1800 Troy St.
                                   Dayton, OH 45404
 INCOME: (Estimate of average monthly income)                                                       DEBTOR                SPOUSE
 Current monthly gross wages, salary, and commissions (pro rate if not paid monthly)            $         500.00      $      2,694.00
 Estimated monthly overtime                                                                     $           0.00      $          0.00

 SUBTOTAL                                                                                       $         500.00      $      2,694.00

       LESS PAYROLL DEDUCTIONS
       a. Payroll taxes and social security                                                     $           0.00      $        606.00
       b. Insurance                                                                             $           0.00      $        489.00
       c. Union dues                                                                            $           0.00      $          0.00
       d. Other (Specify)      401 K                                                            $           0.00      $         80.00
                               SIP Loan                                                         $           0.00      $         79.00

       SUBTOTAL OF PAYROLL DEDUCTIONS                                                           $           0.00      $      1,254.00

 TOTAL NET MONTHLY TAKE HOME PAY                                                                $         500.00      $      1,440.00

 Regular income from operation of business or profession or farm (attach detailed statement)    $           0.00      $          0.00
 Income from real property                                                                      $           0.00      $          0.00
 Interest and dividends                                                                         $           0.00      $          0.00
 Alimony, maintenance or support payments payable to the debtor for the debtor's use or that
 of dependents listed above                                                                     $           0.00      $          0.00
 Social security or other government assistance
 (Specify)                                                                                      $           0.00      $          0.00
                                                                                                $           0.00      $          0.00
 Pension or retirement income                                                                   $           0.00      $          0.00
 Other monthly income
 (Specify)                                                                                      $           0.00      $          0.00
                                                                                                $           0.00      $          0.00

 TOTAL MONTHLY INCOME                                                                           $         500.00      $      1,440.00

 TOTAL COMBINED MONTHLY INCOME                             $                  1,940.00         (Report also on Summary of Schedules)
Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the
filing of this document:
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 In re   Thomas E. Payne                                                                      Case No.
                                                                  Debtor(s)


         SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
   Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

o Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
Rent or home mortgage payment (include lot rented for mobile home)                                         $                  950.00
Are real estate taxes included?                                 Yes               No X
Is property insurance included?                                 Yes               No X
Utilities:         Electricity and heating fuel                                                            $                  175.00
                   Water and sewer                                                                         $                   85.00
                   Telephone                                                                               $                   50.00
                   Other      Cable vision                                                                 $                  129.00
Home maintenance (repairs and upkeep)                                                                      $                  100.00
Food                                                                                                       $                  300.00
Clothing                                                                                                   $                  100.00
Laundry and dry cleaning                                                                                   $                  100.00
Medical and dental expenses                                                                                $                  150.00
Transportation (not including car payments)                                                                $                  200.00
Recreation, clubs and entertainment, newspapers, magazines, etc.                                           $                   50.00
Charitable contributions                                                                                   $                    0.00
Insurance (not deducted from wages or included in home mortgage payments)
                   Homeowner's or renter's                                                                 $                    0.00
                   Life                                                                                    $                    0.00
                   Health                                                                                  $                    0.00
                   Auto                                                                                    $                   65.00
                   Other      See Detailed Expense Attachment                                              $                  170.00
Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) Income Tax/self employment tax                                                  $                  100.00
Installment payments: (In chapter 12 and 13 cases, do not list payments to be included in the plan.)
                   Auto                                                                                    $                    0.00
                   Other                                                                                   $                    0.00
                   Other                                                                                   $                    0.00
                   Other                                                                                   $                    0.00
Alimony, maintenance, and support paid to others                                                           $                    0.00
Payments for support of additional dependents not living at your home                                      $                    0.00
Regular expenses from operation of business, profession, or farm (attach detailed statement)               $                    0.00
Other                                                                                                      $                    0.00
Other                                                                                                      $                    0.00

TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                               $                2,724.00

[FOR CHAPTER 12 AND 13 DEBTORS ONLY]
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some
other regular interval.
A.   Total projected monthly income                                                                        $                        N/A
B.   Total projected monthly expenses                                                                      $                        N/A
C.   Excess income (A minus B)                                                                             $                        N/A
D.   Total amount to be paid into plan each                                                                $                        N/A
                                                               (interval)
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 In re   Thomas E. Payne                                                 Case No.
                                                     Debtor(s)

               SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                         Detailed Expense Attachment
Other Insurance Expenditures:
Homeowners In's.                                                                    $                50.00
Real Estate Taxes                                                                   $               120.00
Total Other Insurance Expenditures                                                  $               170.00
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                                                                  United States Bankruptcy Court
                                                                             Southern District of Ohio
 In re       Thomas E. Payne                                                                                       Case No.
                                                                                             Debtor(s)             Chapter    7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                22  sheets [total shown on summary page plus 1], and that they are true and correct to the best of my
             knowledge, information, and belief.




 Date July 15, 2005                                                             Signature    /s/ Thomas E. Payne
                                                                                             Thomas E. Payne
                                                                                             Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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Form 7
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                                                                  United States Bankruptcy Court
                                                                             Southern District of Ohio
 In re       Thomas E. Payne                                                                                 Case No.
                                                                                             Debtor(s)       Chapter       7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs.

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any
of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
     o         business from the beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
               two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a
               fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a
               joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income
               of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE (if more than one)
                           $19,063.00                               Husband                                  Wife
                                                                    Self Employed 1/1/05 -6/30/05   $ 3,000. NC Mortgage OH $ 16,063.
                                                                    "                         04  $ 6,000. "            $ 32, 000.
                                                                    "                         03  $ 6,000. "            $ 32,000.

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
     n         during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE




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               3. Payments to creditors

    None       a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor,
     n         made within 90 days immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
               must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
               petition is not filed.)

 NAME AND ADDRESS                                                                   DATES OF                                           AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                       AMOUNT PAID            OWING

    None       b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who
     n         are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
               not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT                AMOUNT PAID            OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
     n         this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY          STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                         AND LOCATION             DISPOSITION

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
     n         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
     n         returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
     n         this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
     n         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                        DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                  ORDER               PROPERTY




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               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
     n         and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                       DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT      VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
     n         since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
     n         concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                    DATE OF PAYMENT,                        AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
    OF PAYEE                                                                          THAN DEBTOR                             OF PROPERTY

               10. Other transfers

    None       List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
     n         either absolutely or as security within one year immediately preceding the commencement of this case. (Married debtors filing under
               chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are
               separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                           AND VALUE RECEIVED

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
     n         otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                        TYPE OF ACCOUNT, LAST FOUR
                                                                                        DIGITS OF ACCOUNT NUMBER,        AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                       AND AMOUNT OF FINAL BALANCE              OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
     n         immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                       DESCRIPTION            DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                       OF CONTENTS             SURRENDER, IF ANY



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               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
     n         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                       AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.
     n
                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                      LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor
     n         occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                            DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
     n         Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
     n         or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                     DATE OF                 ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                  LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
     n         Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                     DATE OF                 ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                  LAW




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                                                                                                                                                               5
    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
     n         the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                         STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
     n         ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partnership,
               sole proprietorship, or was a self-employed professional within the six years immediately preceding the commencement of this case, or
               in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately preceding the
               commencement of this case.
                           If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                      beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity
                      securities, within the six years immediately preceding the commencement of this case.
                           If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                      beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity
                      securities within the six years immediately preceding the commencement of this case.

                                        TAXPAYER                                                                            BEGINNING AND ENDING
 NAME                                   I.D. NO. (EIN)             ADDRESS                   NATURE OF BUSINESS             DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
     n
 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within the six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor or otherwise self-employed.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within the six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or
     n         supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
     n         of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                             DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
     n         of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                         ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
     n         issued within the two years immediately preceding the commencement of this case by the debtor.

 NAME AND ADDRESS                                                                                  DATE ISSUED




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                                                                                                                                                                6

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
     n         and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
     n
                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
     n
 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
     n         controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
     n         commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
     n         immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
     n         in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                           AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                             VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
     n         group for tax purposes of which the debtor has been a member at any time within the six-year period immediately preceding the
               commencement of the case.

 NAME OF PARENT CORPORATION                                                                                     TAXPAYER IDENTIFICATION NUMBER




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                                                                                                                                                            7

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
     n         employer, has been responsible for contributing at any time within the six-year period immediately preceding the commencement of the
               case.

 NAME OF PENSION FUND                                                                                              TAXPAYER IDENTIFICATION NUMBER


                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date July 15, 2005                                                             Signature    /s/ Thomas E. Payne
                                                                                             Thomas E. Payne
                                                                                             Debtor
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                  United States Bankruptcy Court
                                                                             Southern District of Ohio
 In re       Thomas E. Payne                                                                                       Case No.
                                                                                             Debtor(s)             Chapter    7


                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                      $                  750.00
              Prior to the filing of this statement I have received                                            $                  750.00
              Balance Due                                                                                      $                    0.00

2.     The source of the compensation paid to me was:

              n    Debtor            o Other (specify):

3.     The source of compensation to be paid to me is:

              n    Debtor            o Other (specify):

4.       n   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         o I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       July 15, 2005                                                                  /s/ REBECCA BARTHELEMY-SMITH
                                                                                             REBECCA BARTHELEMY-SMITH 0003474
                                                                                             ARKENBERG & BARTHELEMY-SMITH
                                                                                             4133 N. Dixie Drive
                                                                                             Dayton, OH 45414
                                                                                             (937) 278-4214 Fax: (937) 278-7344
                                                                                             rbsmith.ameritech.net




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                         ASSETT ACCEPTANCE LLC
                         PO BOX 2036
                         Warren, MI 48090

                         BOWSER MORNER ASSOC.
                         15316 N. Florida Ave
                         Tampa, FL 33613

                         CBCS
                         PO BOX 165025
                         Columbus, OH 43216-5025

                         CENTERVILLE INS. AGENCY
                         55 Franklin St.
                         Dayton, OH 45459

                         CHICAGO TITLE INS. ABENCY
                         1 S. Main St.
                         Dayton, OH 45402

                         CITY OF DAYTON WELLFIELD FUND BOARD
                         8 N. Main St.
                         Dayton, OH 45402

                         CRA SECURITY SYSTEMS
                         PO BOX 67665
                         Harrisburg, PA 17108-7555

                         DAYTON POWER & LIGHT
                         PO BOX 740598
                         Cincinnati, OH 45274

                         EBI
                         PO BOX 8500-41335
                         Philadelphia, PA 19178-1335

                         EMERGENCY MED. SPEC. INC.
                         PO BOX 145406
                         Cincinnati, OH 45250

                         EVANS ELECTRIC
                         1910 N. Main Street
                         Dayton, OH 45402

                         FINANCE SYSTEM OF TOLEDO INC.
                         PO BOX 351297
                         Toledo, OH 43735-1297

                         FOSTER STEPHEN
                         c/oBIEHL & BIEHL, INC.
                         PO OBOX 66415
                         Amf Ohare, IL 60666-0415
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                     GOURMET R&B LAWN SERV.
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                     Dayton, OH 45440

                     GUNNOE & ASSOC. ESQ.
                     2525 Miamisburg Rd.
                     Dayton, OH 45459

                     HAUSER ERNEST Phd
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                     Dayton, OH 45433

                     JERGENS R.B. CONSTRUCTION
                     11418 N. Dixie Drive
                     Vandalia, OH 45377

                     JUDGE ENGINEERING
                     1201 E. David Rd.
                     Dayton, OH 45429

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                     Toledo, OH 43735-1297

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                     Columbus, OH 43271-3085

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                     KETTERING MED. CTR PULMONARY NETWORK
                     6728 Loop Rd.
                     Dayton, OH 45459

                     KETTERING RADIOLOGISTS INC.
                     PO BOX 713085
                     Columbus, OH 43271-3085

                     LAPP ROOFING & SHEETING METAL
                     2860 Ome Ave.
                     Dayton, OH 45414

                     MAXIMUS
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                     Hinsdale, IL 60522-9264

                     MIAMI VALLEY CARDIOLOGISTS INC.
                     231230 Momentum Plc.
                     Chicago, IL 60689-0001

                     MIAMI VALLEY EMERG SPEC.
                     2950 Roberson Ave. $ 200
                     Cincinnati, OH 45209
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                     PO BOX 817601
                     Dayton, OH 45481-7601

                     NCO FINANCIAL
                     PO BOX 41417 Dept. 99
                     Philadelphia, PA 19101-1457

                     OHIO PAINT CO.
                     1248 Ventura Ave.
                     Dayton, OH 45404

                     OHIO UTILITIES PROTECTION SERV
                     4740 Belmont Ave.
                     Youngstown,, OH

                     PHYSIO THERAPEUTICS INC.
                     c/o UNITED TRADES ASSN. INC.
                     2310 Farr Hills Ave.
                     Dayton, OH 45419

                     PRIMED
                     PO BOX 7111858
                     Columbus, OH 43271-1858
                     RADIOLOGY PHYSICIANS INC.
                     3533 Southern Blvc. # 3550
                     Dayton, OH 45429

                     REINKE GROUP
                     959 Congress Park Dr.
                     Dayton, OH 45459

                     SBC
                     Attn. Bankruptcy Dept.
                     Arlington, TX 76004
                     SCHUSTER CARDIOLOGY
                     3533 Kettering Blvd.
                     Dayton, OH 45429

                     SCOTT STONE ESQ.
                     7501 Paaragon Rd.
                     Dayton, OH 45459

                     SHOW PLACE INC.
                     649 Watervelit Ave.
                     Dayton, OH 45428
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                     SOUTH DAYTON ACUTE CARE CONSUL
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